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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                            Fort Lauderdale Division


UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE

                         v.                                             Case Number: 18-CR-80235-RUIZ
                                                                        USM Number: 19457-104
  SHERRY TINA UWANAWICH
                                                                        Counsel for Defendant: James Lewis
                                                                        Counsel for The United States: Roger Stefin
                                                                        Court Reporter: Gizella Baan-Proulx
The Defendant pleaded guilty to Count 1.
The Defendant is adjudicated guilty of this offense:
 TITLE & SECTION                         NATURE OF OFFENSE                                      OFFENSE ENDED         COUNT
 18 U.S.C. § 1343                        Wire fraud                                             01/01/2014            1
The Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
All remaining counts are dismissed on the motion of the government.
It is ordered that the Defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the Defendant must notify the Court and United States
Attorney of material changes in economic circumstances.




                                                                       Date of Imposition of Sentence: 9/6/2019



                                                                       ____________________________________________
                                                                       Rodolfo A. Ruiz
                                                                       United States District Judge


                                                                       Date:                  9/6/2019
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DEFENDANT: SHERRY TINA UWANAWICH
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                              IMPRISONMENT
The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 40 months.
The Court makes the following recommendations to the Bureau of Prisons:
          • Designation in or as near to the Southern District of Florida as possible.
The Defendant is remanded to the custody of the United States Marshal.



                                                            RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                              ___________________________________________
                                                              UNITED STATES MARSHAL


                                                              ___________________________________________
                                                              DEPUTY UNITED STATES MARSHAL
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DEFENDANT: SHERRY TINA UWANAWICH
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the Defendant shall be on supervised release for a term of three years.

The Defendant must report to the probation office in the district to which the Defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall refrain from any unlawful use of a
controlled substance. The Defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the Court.

The Defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

The Defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the Defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The Defendant must comply with the standard conditions that have been adopted by this Court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
     1. The Defendant shall not leave the judicial district without the permission of the Court or probation officer;
     2. The Defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first fifteen days of each month;
     3. The Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;
     4. The Defendant shall support his or her dependents and meet other family responsibilities;
     5. The Defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;
     6. The Defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7. The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;
     8. The Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;
     9. The Defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;
     10. The Defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view of the probation officer;
     11. The Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
     12. The Defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the Court; and
     13. As directed by the probation officer, the Defendant shall notify third parties of risks that may be occasioned by the
         Defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
         notifications and to confirm the Defendant’s compliance with such notification requirement.
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DEFENDANT: SHERRY TINA UWANAWICH
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                                              SPECIAL CONDITIONS OF SUPERVISION

Financial Disclosure Requirement - The Defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

Mental Health Treatment - The Defendant shall participate in an approved inpatient/outpatient mental health
treatment program. The Defendant will contribute to the costs of services rendered (co-payment) based on ability
to pay or availability of third party payment.

No New Debt Restriction - The Defendant shall not apply for, solicit or incur any further debt, included but not
limited to loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through
any corporate entity, without first obtaining permission from the United States Probation Officer.

Permissible Search - The Defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Related Concern Restriction - The Defendant shall not own, operate, act as a consultant, be employed in, or
participate in any manner, in any related concern during the period of supervision.

Substance Abuse Treatment - The Defendant shall participate in an approved treatment program for drug and/or
alcohol abuse and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient
treatment. The Defendant will contribute to the costs of services rendered (co-payment) based on ability to pay or
availability of third party payment.
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DEFENDANT: SHERRY TINA UWANAWICH
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                                                  CRIMINAL MONETARY PENALTIES
The Defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                    Assessment             Fine               Restitution
             TOTALS                                  $100.00                0                $1,600,000.00
The Defendant must make restitution (including community restitution) to the attached list of payees in the
amount listed below.
If the Defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to
18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.
 NAME OF PAYEE                                                   TOTAL LOSS*      RESTITUTION ORDERED
 Clerk, U.S. Courts                                              $1,600,000.00    $1,600,000.00
Restitution with Imprisonment - It is further ordered that the Defendant shall pay restitution in the amount
of $1,600,000.00. During the period of incarceration, payment shall be made as follows: (1) if the Defendant
earns wages in a Federal Prison Industries (UNICOR) job, then the Defendant must pay 50% of wages
earned toward the financial obligations imposed by this Judgment in a Criminal Case; (2) if the Defendant
does not work in a UNICOR job, then the Defendant must pay a minimum of $25.00 per quarter toward the
financial obligations imposed in this order. Upon release of incarceration, the Defendant shall pay restitution
at the rate of 10% of monthly gross earnings, until such time as the Court may alter that payment schedule
in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation Office and U.S. Attorney’s Office shall
monitor the payment of restitution and report to the Court any material change in the Defendant’s ability
to pay. These payments do not preclude the government from using other assets or income of the Defendant
to satisfy the restitution obligations.

     •    Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
          for offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: SHERRY TINA UWANAWICH
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                              SCHEDULE OF PAYMENTS
Having assessed the Defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. Lump sum payment of $100.00 due immediately.
Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the
Court.
The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
U.S. Attorney's Office are responsible for the enforcement of this order.
Defendant and Co-Defendant Names and Case Numbers (including Defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.
 CASE NUMBER
                                                                                          JOINT AND SEVERAL
 DEFENDANT AND CO-DEFENDANT NAMES                                 TOTAL AMOUNT
                                                                                          AMOUNT
 (INCLUDING DEFENDANT NUMBER)
The Government shall file a preliminary order of forfeiture within 3 days.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
